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                               UNITED STATES DISTRICT COURT
                                DISTRICT OF MASSACHUSETTS



   In the Matter of The Complaint and Petition by
   RYAN DENVER as owner of the M/V MAKE                            Civil Action No. 21-11841-ADB
   IT GO AWAY, for Exoneration from or
   Limitation of Liability                                         In Admiralty


             LIMITATION PLAINTIFF’S BRIEF IN SUPPORT OF MOTION
                       TO ALTER OR AMEND ECF NO. 66

       Limitation Plaintiff Ryan Denver respectfully urges the Court to reconsider and amend its

decision to lift the limitation stay allowing the human claimants to file suit in state court.

Otherwise, a procedural quagmire will create substantive hash sapping the uniformity of

maritime law and injecting res judicata confusion into the limitation case; prejudice Denver,

leaving him without insurance proceeds to answer the USCG claim against him which cannot be

adjudicated in state court, while also precluding him and the human claimants from pursuing the

USCG in state court; thereby creating inefficient, multi-forum litigation of a multi-victim marine

casualty and defeating concursus.

       Denver also incorporates the United States’ memorandum in support of its motion to alter

or amend, ECF No. 69 and reiterates United States v. Allen, 573 F.3d 42, 53 (1st Cir. 2009)

(“motions for reconsideration are appropriate only in a limited number of circumstances: if the

moving party presents newly discovered evidence, if there has been an intervening change in the

law, or if the movant can demonstrate that the original decision was based on a manifest error of

law or was clearly unjust.”)

       While Denver recognizes the Limitation of Liability Act (“LOLA”) is far from a model

of Congressional clarity, respectfully, this Court’s most recent decision exacerbates confusion by

ignoring its own recreational boating decision, In re Urbelis, 2018 WL 701350 *6 (D. Mass.
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2018) (“‘limitation proceedings following a marine disaster will certainly expedite matters by

getting all the parties concerned involved in a single proceeding’”). Furthermore, the Court’s

most recent decision, albeit dicta at ECF No. 66 at 12n.10, suggests sua sponte reversal of its

earlier owner at the helm decision, 626 F.Supp.3d 512, announcing a new standard for privity

and knowledge. Yet all the while, Fed. R. Civ. P. Supp. F(3) remains crystal clear: “On

application of the plaintiff the court shall enjoin the further prosecution of any action or

proceeding against the plaintiff or the plaintiff’s property with respect to any claim subject to

limitation in the action.” That applies here where Denver, as the plaintiff, is both vessel owner

and operator.1

    I.   IF ZAPATA WAS CORRECT (DESPITE ITS MESS), PARADISE HOLDINGS NO
         DOUBT WAS CORRECT, BUT ECF NO. 66 WAS NOT

         Judge Augustus Hand wrote: “The purpose of a limitation proceeding is not merely to

limit liability but to bring all claims into concourse and settle every dispute in one action.” The

Quarrington Court, 102 F.2d 916, 918 (2nd Cir.), cert. denied, 307 U.S. 645 (1939).

         A critical purpose underlying the limitation action is to achieve a “complete and just

disposition of a many-cornered controversy.” In re Shell Oil Co. & Shell Offshore Inc. as

Owners &/or Owners Pro Hac Vice of M/V EB II, 780 F. Supp. 1086, 1091 (E.D. La. 1991).

Thus, the limitation proceeding furthers the goal of uniformity which has been declared a

dominant requirement for admiralty law. Id. The importance of concursus was emphasized by

Justice Frankfurter in Maryland Cas. Co. v. Cushing, 347 U.S. 409, 415-17 (1954):

         The heart of [the limitation] system is a concursus of all claims to ensure prompt
         and economical disposition of controversies in which there are often a multitude of

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  Cf. In re Soares, 107 F.3d 969, 971 (1st Cir. 1997) (“Like a shade tree, the automatic stay which attends the
initiation of bankruptcy proceedings, 11 U.S.C. § 362(a) (1994), must be nurtured if it is to retain its vitality.”)
Bankruptcy is but one of several other statutory schemes where remedies can be limited and damages capped in
certain instances. Patrick J. Bonner, “Limitation of Liability: Should it be Jettisoned after the DEEPWATER
HORIZON?” 85 Tul. L. Rev. 1183 (2011).

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       claimants.... Moreover, it is important to bear in mind that the concursus is not
       solely for the benefit of the shipowner. The elaborate notice provisions of the
       Admiralty Rules are designed to protect injured claimants. They ensure that all
       claimants, not just a favored few, will come in on an equal footing to obtain a pro
       rata share of their damages.

       Commentators and courts often rail against the 1851 Limitation Act as outdated. Yet

concursus, with responsive insurance for resolving marine casualties remains paramount today,

whether involving commercial shipping, fallen bridges, family owned tug operations, fishing

vessels, or recreational boats -- all subject to essential maritime uniformity, see Great Lakes

Insurance SE v. Raiders Retreat Realty Co., 601 U.S. 65, 69 (2024) (9-0 pleasure yacht case),

following the same Rules of the Road, navigational aids (particularly salient here with USCG

Daymark No. 5), and other federal regulatory schemes, with original jurisdiction for disputes in

federal court under the Constitution’s Article III admiralty clause. Accordingly, as In re Shell

Oil Co., for instance stated: “Achieving judicial economy therefore is the law which this Court

is bound to follow.” 780 F. Supp. at 1091.

       Allowing multiple claimants’ state court suits when there is an inadequate limitation fund

(and arguably inadequate insurance proceeds) against the master outside a limitation concursus

makes hash. Look what happened after Zapata Haynie Corp. v. Arthur, 926 F.2d 484 (5th Cir.

1991) [Zapata I] lifted the stay, allowing a separate suit against the master. The casualty

involved a tugboat’s allision with a pipeline causing an explosion and 11 deaths.

       First, the W.D. La. limitation case absolved the tug’s owner, finding the pipeline

company solely responsible for the explosion. See Zapata Haynie Corp. v. Arthur, 980 F.2d 287,

289 (5th Cir. 1992) [Zapata II].

       Second, in a separate E.D. Tex. suit outside the limitation case, the master was found

35% at fault. Gough v. Nat. Gas Pipeline Co. of Am., 996 F.2d 763, 765 (5th Cir. 1993).



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       Thus, the district courts’ disparate decisions were both affirmed by the Fifth Circuit: For

the same explosion, the pipeline was completely at fault in one case but only 65% at fault in the

other, which “is logically inconsistent and exemplifies the dangers of multiplicity of litigation.”

M. Isaacs, “A Critical Defect in the Limitation of Shipowners’ Liability Act: The Exclusion of

the Master and Crew,” 27 Tul. Mar. L.J. 335, 354 (2002). As the Supreme Court in a prior

limitation case had predicted, “the prosecution of separate suits, if allowed to proceed, would

result in a subversion of the whole object and scheme of the statute.” Providence & N.Y.S.S. Co.

v. Hill Mfg. Co., 109 U.S. 578, 594 (1883). And worse – contradictory decisions.

       Denver submits it is possible to explain the “proper construction” of “the entire

Limitation of Liability Act” as accomplished by In re Paradise Holdings, 795 F.2d 756, 762 (9th

Cir. 1986), and Zapata I’s finding that “[t]his act is not ambiguous,” 926 F.2d at 485, by

considering the original language of the Limitation Act. As pointed out by Denver in ECF No.

54 at 7n.3, original 46 U.S.C. § 187 (while deplorably drafted even by 1851 standards), can be

read as limiting actions to remedies for merchandise malversation – cargo theft, embezzlement,

and the like – against “such” master in proceedings outside the limitation case. See J. Sweeney,

“Limitation of Shipowner Liability: Its American Roots and Some Problems Particular to

Collision,” 32 J. Mar. L. & Com. 241 (2001). That makes sense; any cargo-related sins of

commission by the master, officers, or crew rightly could be chased outside the concursus. But

when 46 U.S.C. § 187 was amended to the truncated 46 U.S.C. § 30530 version, although more

clarity was streamlined therein, overall concursus confusion remained, and in any event § 30530

does not say the liability of the master must be determined outside concursus in order to gut it.

But that is the “clearly unjust” result ECF No. 66 at 11-18 creates.




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       The Court’s vacillations, id. at 12n.10 notwithstanding, just as Denver’s claim against the

USCG gave plausibility to the Court’s owner at the helm decision distinguishing Judge Tauro’s

In re Martin decision, so too does Denver’s claim against the USCG distinguish the sole one and

the same owner/master slip opinion, In re Lee. Leaving the USCG out of the human claimants’

now lifted state court suits is precisely why the stay should not have been lifted and if the order

is not amended, Zapata-like hash is sure to ensue.

       In sum, assuming arguendo that the Fifth Circuit was correct in lifting the stay in Zapata

I because there was nothing in the record to indicate the master was covered under the vessel

owner’s insurance and so would not deplete it for the limitation action, 926 F.2d at 487 n.2, the

Ninth Circuit in Paradise Holdings rightly ruled D. Hi. properly exercised its discretion to

maintain the stay of state court actions against the master since he was an additional insured on

the vessel owner’s policy and state court actions against him would deplete funds available to

claimants in the limitation action, 795 F.2d 756. Here, Denver is one and the same, vessel owner

and master, covered by one primary policy, plus excess. Those proceeds need to be marshalled

in this limitation action to satisfy claimants like the United States government who cannot

litigate the USCG claim in state court.

 II.   LIFTING THE STAY AGAINST DENVER AS MASTER CIRCUMVENTS HIS
       BENEFIT OF INSURANCE AS OWNER UNDER THE LIMITATION ACT

       “A major purpose of the Act is to permit the shipowner to retain the benefit of his

insurance.” Paradise Holdings, Inc., 795 F.2d at 762. “The reason for requiring the limitation

proceeding to be completed first is to permit the vessel owner to receive the benefit of his

insurance.” Olympic Towing Corp. v. Nebel Towing Co., 419 F.2d 230, 235 n.17 (5th Cir. 1969),

cert. denied, 397 U.S. 989 (1970), overruled on other grounds, Crown Zellerbach Corp. v.

Ingram Industries, Inc., 783 F.2d 1296 (5th Cir. 1986)(en banc). If the state court proceedings

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are completed against the master prior to the limitation proceeding, the owner’s insurance may

well be depleted and the state court’s findings could interfere with the federal district court’s

obligation of determining the circumstances surrounding “privity or knowledge.” In re Spanier

Marine Corp., 1983 WL 188043, at *2 (E.D. La. Mar. 15, 1983)(restraining the state court action

against the master and crew pending resolution of the limitation proceeding).

       A limitation stay has been upheld against managing agents, United States v. M/V

Mandan, 1991 WL 148211, at *1 (E.D. La. Jan. 25, 1991), corporate shareholders, Flink v.

Paladini, 279 U.S. 59, 63 (1929), and corporate officers, Guillot v. Cenac Towing Co., 366 F.2d

898 (5th Cir.1966). The Court, in its discretion, should solve the present problem by amending

its ECF No. 66 Order and staying the human Claimants’ suit against Denver as master outside of

the concursus.

                                          CONCLUSION

       Lifting the stay to permit the human Claimants to proceed against Denver as master in

state court destroys his ability to limit his liability under LOLA and at least as importantly

destroys concursus, denying Denver and Claimant USCG the benefit of his insurance, creating

inefficient and duplicative litigation, and unnecessarily injecting issue preclusion confusion into

multi-party marine casualty litigation.

       In ECF No. 66, the Court endeavored to craft “the fairest and most efficient” solution, id.

at 18, but it is unworkable and clearly unjust, so Denver proposes another course. The Claimants

can bring their suit against Denver as master in the D. Mass. concursus, with the Court then

determining if Denver as owner had privity and knowledge and is not entitled to limit his

liability. All parties -- Owner/Master Denver, human Claimants, Claimant USCG, and Rosenthal




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-- then would be efficiently litigating their claims amongst all parties, within the concursus to

avoid Zapata injustice.

                   RESPECTFULLY SUBMITTED April 9, 2024

                                                     RYAN DENVER
                                                     By his counsel,


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Certificate of Service
Pursuant to Local Rule 5.2, I served this brief on
all attorneys of record via the ECF/CM system
April 9, 2024.

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